Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 1 of 57 PageID #:
                                    94610




                                                 EXHIBIT 1
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 2 of 57 PageID #:
                                    94611
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 3 of 57 PageID #:
                                    94612
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 4 of 57 PageID #:
                                    94613
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 5 of 57 PageID #:
                                    94614
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 6 of 57 PageID #:
                                    94615
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 7 of 57 PageID #:
                                    94616
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 8 of 57 PageID #:
                                    94617
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 9 of 57 PageID #:
                                    94618
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 10 of 57 PageID #:
                                    94619
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 11 of 57 PageID #:
                                    94620
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 12 of 57 PageID #:
                                    94621
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 13 of 57 PageID #:
                                    94622
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 14 of 57 PageID #:
                                    94623
          Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 15 of 57 PageID #:
                                              94624
                           AUTHORIZATION TO DISCLOSE   MEDICAL INFORMATION

    To:
    I, the undersigned, hereby authorize and request the Custodian of the above-named entity to disclose
    to Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500 Indianapolis, IN 46204, any and
    all medical records, including those that may contain protected health information (PHI) regarding
    ______________________, whether created before or after the date of signature.

    This authorization specifically does not permit Faegre Drinker Biddle & Reath LLP to discuss any aspect of
    my medical care, medical history, treatment, diagnosis, prognosis, or any other circumstances
    revealed by or in the medical records with my medical providers, past or present, ex parte and without the
    presence of my attorney. Records requested may include, but are not limited to:
               a)     all medical records, physician's records, surgeon's records, pathology/cytology reports,
                      physicals and histories, laboratory reports, operating room records, discharge summaries,
                      progress notes, patient intake forms, consultations, prescriptions, nurses' notes, birth certificate
                      and other vital statistic records, communicable disease testing and treatment records,
                      correspondence, prescription records, medication records, orders for medications, therapists’
                      notes, social worker's records, insurance records, consent for treatment, statements of
                      account, itemized bills, invoices and any other papers relating to any examination, diagnosis,
                      treatment, periods of hospitalization, or stays of confinement, or documents containing
                      information regarding amendment of protected health information (PHI) in the medical
                      records, copies (NOT originals) of all x-rays, CT scans, MRI films, photographs, and any
                      other radiological, nuclear medicine, or radiation therapy films and of any corresponding
                      reports and requisition records, and any other written materials in its possession relating to any
                      and all medical diagnoses, medical examinations, medical and surgical treatments or
                      procedures. I expressly request that all covered entities under HIPAA identified above
                      disclose full and complete protected medical information. This authorization and release does
                      not allow                                                        to request or take possession of
                      pathology/cytology specimens, extracted mesh, pathology/cytology or hematology slides, wet
                      tissue or tissue blocks.

               b)     complete copies of all prescription profile records, prescription slips, medication records,
                      orders for medication, payment records, insurance claims forms correspondence and any other
                      records. I expressly request that all covered entities under HIPAA identified above disclose
                      full and complete protected medical information.

    A photocopy of this authorization shall be considered as effective and valid as the original, and this
    authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
    __________________v. Cook Medical Inc., et al. or (ii) five (5) years after the date of signature of the
    undersigned below. The purpose of this authorization is for civil litigation.

                                                          NOTICE
•     The individual signing this authorization has the right to revoke this authorization at any time, provided
      the revocation is in writing to Faegre Drinker Biddle & Reath LLP except to the extent that the entity has
      already relied upon this Authorization to disclose protected health information (PHI).
•     The individual signing this authorization understands that the covered entity to whom this authorization is
      directed may not condition treatment, payment, enrollment or eligibility benefits on whether or not the
      individual signs the authorization.
•     The individual signing this authorization understands that protected health information (PHI) disclosed
      pursuant to this authorization may be subject to redisclosure by the recipients and that, in such case, the
      disclosed PHI no longer will be protected by federal privacy regulations.
•     The individual signing this authorization expressly authorizes the above-named entity to disclose HIV/AIDS
      records and information to Faegre Drinker Biddle & Reath LLP.
•     The individual signing this authorization understands information authorized for release may include records
      that may indicate the presence of a communicable disease.
US.110158128.02
       Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 16 of 57 PageID #:
•     The individual signing this authorization understands
                                                         94625that she/he shall be entitled to receive a copy of all
      documents requested via this authorization within a reasonable period of time after such records are received
      by Faegre Drinker Biddle & Reath LLP.

    I have read this Authorization and understand that it will permit the entity identified above to disclose PHI to
    Faegre Drinker Biddle & Reath LLP.


           Name of Patient (Print)                              Signature    of    Patient    or    Individual

           Former/Alias/Maiden Name of Patient                  Date

           Patient’s Date of Birth                              Name of Patient Representative

           Patient’s Social Security Number                     Description of Authority

           Patient’s Address




US.110158128.02
     Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 17 of 57 PageID #:
                                         94626

                             AUTHORIZATION AND CONSENT
                           TO RELEASE PSYCHOTHERAPY NOTE
 Name of Individual:
 Social Security Number:
 Date of Birth:
 Provider Name:




US.110158128.02
      Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 18 of 57 PageID #:
                                          94627

TO:     All physicians, hospitals, clinics and institutions, pharmacists and other healthcare providers

        The Veteran's Administration and all Veteran's Administration hospitals, clinics, physicians and
        employees

        The Social Security Administration

        Open Records, Administrative Specialist, Department of Workers' Claims

        All employers or other persons, firms, corporations, schools and other educational institutions

         The undersigned individual herby authorizes each entity included in any of the above categories to
 furnish and disclose to Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis,
 IN 46204, and its authorized representatives, true and correct copies of all "psychotherapy notes", as such
 term is defined by the Health Insurance Portability and Accountability Act, 45 CFR §164.501. Under HIPAA,
 the term "psychotherapy notes" means notes recorded (in any medium) by a health care provider who is a
 mental health professional documenting or analyzing the contents of conversation during a private
 counseling session or a group, joint or family counseling session and that are separated from the rest of the
 individual's record. This authorization does not authorize Faegre Drinker Biddle & Reath LLP to engage in ex
 parte communication concerning same.

         •        This authorization provides for the disclosure of the above-named patient's protected health
                  information for purposes of the following litigation matter:                             v.
                  Cook Medical, Inc., et al.

         •        The undersigned individual is hereby notified and acknowledges that any health care provider or
                  health plan disclosing the above requested information may not condition treatment, payment,
                  enrollment or eligibility for benefits on whether the individual signs this authorization.

         •        The undersigned individual is hereby notified and acknowledges that he or she may revoke this
                  authorization by providing written notice to Faegre Drinker Biddle & Reath LLP and/or to one
                  or more entities listed in the above categories, except to the extent that any such entity has taken
                  action in reliance on this authorization.

         •        The undersigned is hereby notified and acknowledges that he or she is aware of the potential that
                  protected health information disclosed and furnished to the recipient pursuant to this
                  authorization is subject to redisclosure by the recipient for the purposes of this litigation in a
                  manner that will not be protected by the Standards for the Privacy of Individually Identifiable
                  Health Information contained in the HIPAA regulations (45 CFR §§164.500-164.534).

         •        The undersigned is hereby notified that he/she is aware that any and all protected health
                  information disclosed and ultimately furnished to Faegre Drinker Biddle & Reath LLP in
                  accordance with orders of the court pursuant to this authorization will be shared with any and all
                  co-defendants in the matter of                              v. Cook Medical, Inc., et al. and is subject
                  to redisclosure by the recipient for the purposes of this litigation in a manner that will not be
                  protected by the Standards for the Privacy of Individually Identifiable Health Information
                  contained in the HIPAA regulations (45 CFR §§164.500-164.534).

         •        A photocopy of this authorization shall be considered as effective and valid as the original, and
US.110158128.02
     Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 19 of 57 PageID #:
                                                     94628
              this authorization will remain in effect until the earlier of: (i) the date of settlement or final
              disposition of                             v. Cook Medical, Inc., et al. or (ii) five (5) years after the
              date of signature of the undersigned.

 I have carefully read and understand the above and do hereby expressly and voluntarily authorize the
 disclosure of all of my above information to Faegre Drinker Biddle & Reath LLP and its authorized
 representatives, by any entities included in the categories listed above.

 Date:
                                               Signature of Individual or Individual's Representative
 Individual's Name and Address:

                                               Printed Name of Individual's Representative (If applicable)


                                               Relationship of Representative to Individual (If applicable)


                                               Description of Representative's authority to act for Individual (If
                                               applicable)

 This authorization is designed to be in compliance with the Health Insurance Portability and
 Accountability Act, and the regulations promulgated thereunder, 45 CFR Parts 160 and 164 (collectively,
 "HIPAA").




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 20 of 57 PageID #:
                                     94629INSURANCE INFORMATION
                AUTHORIZATION TO DISCLOSE


  To:

  I, the undersigned, hereby authorize and request the above-named entity to disclose to
  Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204,
  any and all records containing insurance information, including those that may contain protected
  health information (PHI) regarding                                        , whether created before or
  after the date of signature. Records requested may include, but are not limited to:

        applications for insurance coverage and renewals; all insurance policies, certificates and
        benefit schedules regarding the insured's coverage, including supplemental coverage; health
        and physical examination records that were reviewed for underwriting purposes, and any
        statements, communications, correspondence, reports, questionnaires, and records submitted
        in connection with applications or renewals for insurance coverage, or claims; all physicians',
        hospital, dental reports, prescriptions, correspondence, test results, radiology reports and any
        other medical records that were submitted for claims review purposes; any claim record filed;
        records of any claim paid; records of all litigation; and any other records of any kind
        concerning or pertaining to the insured. I expressly request that all covered entities under
        HIPAA identified above disclose full and complete protected medical information. By
        signing this authorization, I expressly do not authorize Faegre Drinker Biddle & Reath to
        engage in any ex parte interview or oral communication about me or any information
        contained in the materials produced without the presence of my attorney.

  A photocopy of this authorization shall be considered as effective and valid as the original, and this
  authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition
  of
                                 v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of
  signature of the undersigned below. The purpose of this authorization is for civil litigation.

  NOTICE

  •     The individual signing this authorization has the right to revoke this authorization at any
        time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except
        to the extent that the entity has already relied upon this Authorization to disclose protected
        health information (PHI).
  •     The individual signing this authorization understands that the covered entity to whom
        this authorization is directed may not condition treatment, payment, enrollment or
        eligibility benefits on whether or not the individual signs the authorization.
  •     The individual signing this authorization understands that protected health information
        (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
        recipients and that, in such case, the disclosed PHI no longer will be protected by federal
        privacy regulations.
  •     The individual signing this authorization understands information authorized for release
        may include records that may indicate the presence of a communicable disease.
  •     The individual signing this authorization understands that she/he shall be entitled to
        receive a copy of all documents requested via this authorization within a reasonable period
        of time after such records are received by Faegre Drinker Biddle & Reath LLP.



 US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 21 of 57 PageID #:
                                             94630
  I have read this Authorization and understand  that it will permit the entity identified above to
  disclose PHI to Faegre Drinker Biddle & Reath LLP.


  Name of Individual                               Signature of Individual or Individual Representative


  Former/Alias/Maiden Name of Individual           Date

  Individual’s Date of Birth                       Name of Individual Representative

  Individual’s Social Security Number              Description of Authority

  Individual’s Address




 US.110158128.02
   Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 22 of 57 PageID #:
                                       94631 MEDICAID INFORMATION
                   AUTHORIZATION TO DISCLOSE

 To:

 I, the undersigned, hereby authorize and request the above-named entity to disclose to the agents or designees
 of Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any and
 all records containing Medicaid information, including those that may contain protected health information
 (PHI) regarding                                        , whether created before or after the date of signature.
 This authorization should also be construed to permit agents or designees of Faegre Drinker Biddle & Reath
 LLP to copy, inspect and review any and all such records. Records requested may include, but are not
 limited to:

       all Medicaid records, including explanations of Medicaid benefit records and claims records; any
       statements, communications, pro reviews, denials, appeals, correspondence, reports,
       questionnaires or records submitted in connection with claims; all reports from physicians,
       hospitals, dental providers, prescriptions; correspondence, test results and any other medical
       records; records of claims paid to or on the behalf of                                          ;
       records of litigation and any other records of any kind. I expressly request that all covered
       entities under HIPAA identified above disclose full and complete protected medical information.

 A photocopy of this authorization shall be considered as effective and valid as the original, and this
 authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
                                 v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature of
 the undersigned below. The purpose of this authorization is for civil litigation. By signing this authorization, I
 expressly do not authorize any ex parte interview or oral communication about me or my medical history by
 Faegre Drinker Biddle & Reath LLP without the presence of my attorney.


                                                    NOTICE
       •   The individual signing this authorization has the right to revoke this authorization at any
           time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except
           to the extent that the entity has already relied upon this Authorization to disclose protected
           health information (PHI).
       •   The individual signing this authorization understands that the covered entity to whom
           this authorization is directed may not condition treatment, payment, enrollment or
           eligibility benefits on whether or not the individual signs the authorization.
       •   The individual signing this authorization understands that protected health information
           (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
           recipients and that, in such case, the disclosed PHI no longer will be protected by federal
           privacy regulations.
       •   The individual signing this authorization understands information authorized for release
           may include records that may indicate the presence of a communicable disease.
       •   The individual signing this authorization understands that they shall be entitled to
           receive a copy of all documents requested via this authorization within a reasonable period
           of time after such records are received by Faegre Drinker Biddle & Reath LLP.




US.110158128.02
   Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 23 of 57 PageID #:
                                                    94632
 I have read this Authorization and understand that it will permit the entity identified above to disclose PHI
 to Faegre Drinker Biddle & Reath LLP.


       Name of Individual                                   Signature    of   Individual   or   Individual

       Former/Alias/Maiden Name of Individual               Date

       Individual’s Date of Birth                           Name of Individual Representative

       Individual’s Social Security Number                  Description of Authority

       Individual’s Address




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 24 of 57 PageID #:
                                     94633
               AUTHORIZATION TO DISCLOSE EMPLOYMENT INFORMATION

  To:


  I, the undersigned, hereby authorize and request the above-named entity to disclose to
  Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any
  and all records containing employment information, including those that may contain protected health
  information (PHI) regarding                                    , whether created before or after the date
  of signature. Records requested may include, but are not limited to:

        all applications for employment, resumes, records of all positions held, job descriptions of
        positions held, payroll records, W-2 forms and W-4 forms, performance evaluations and reports,
        statements and reports of fellow employees, attendance records, worker's compensation files; all
        hospital, physician, clinic, infirmary, nurse, dental records; test results, physical examination
        records and other medical records; any records pertaining to medical or disability claims, or work-
        related accidents including correspondence, accident reports, injury reports and incident reports;
        insurance claim forms, questionnaires and records of payments made; pension records, disability
        benefit records, and all records regarding participation in company-sponsored health, dental, life
        and disability insurance plans; material safety data sheets, chemical inventories, and environmental
        monitoring records and all other employee exposure records pertaining to all positions held; and
        any other records concerning employment with the above-named entity. I expressly request that
        all covered entities under HIPAA identified above disclose full and complete protected medical
        information. By signing this authorization, I expressly do not authorize any ex parte interview or
        oral communication about me or my employment history by Faegre Drinker Biddle & Reath LLP
        without the presence of my attorney.

  A photocopy of this authorization shall be considered as effective and valid as the original, and this
  authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
                               v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature
  of the undersigned below. A copy of this authorization may be used in place of and with the same force
  and effect as the original. The purpose of this authorization is for civil litigation.

  NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
    time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except to
    the extent that the entity has already relied upon this Authorization to disclose protected health
    information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
    authorization is directed may not condition treatment, payment, enrollment or eligibility
    benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
    (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
    and that, in such case, the disclosed PHI no longer will be protected by federal privacy
    regulations.
  • The individual signing this authorization understands information authorized for release may
    include records that may indicate the presence of a communicable disease.
  • The individual signing this authorization understands that they shall be entitled to
    receive a copy of all documents requested via this authorization within a reasonable period of
    time after such records are received by Faegre Drinker Biddle & Reath LLP.


 US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 25 of 57 PageID #:
  I have read this Authorization and understand94634
                                                that it will permit the entity identified above to
  disclose PHI to Faegre Drinker Biddle & Reath LLP.




  Name of Employee                                 Signature of Employee or Employee Representative


  Former/Alias/Maiden Name of Employee             Date

  Employee’s Date of Birth                         Name of Employee Representative

  Employee’s Social Security Number                Description of Authority

  Employee’s Address




 US.110158128.02
   Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 26 of 57 PageID #:
              AUTHORIZATION TO DISCLOSE94635
                                         WORKERS' COMPENSATION INFORMATION


 To:


 I, the undersigned, hereby authorize and request the above-named entity to disclose to
 Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any and all records
 containing Workers’ Compensation information, including those that may contain protected health information (PHI)
 regarding                      , whether created before or after the date of signature. Records requested may include,
 but are not limited to:

        all workers' compensation claims, including claim petitions, judgments, findings, notices of hearings, hearing records, transcripts,
        decisions and orders; all depositions and reports of witnesses and expert witnesses; employer's accident reports; all other accident,
        injury, or incident reports; all medical records; records of compensation payment made; investigatory reports and records;
        applications for employment; records of all positions held; job descriptions of any positions held; salary records; performance
        evaluations and reports; statements and comments of fellow employees; attendance records; all physicians', hospital, medical,
        health reports; physical examinations; records relating to health or disability insurance claims, including correspondence, reports,
        claim forms, questionnaires, records of payments made to physicians, hospitals, and health institutions or professionals;
        statements of account, itemized bills or invoices; and any other records relating to the above-named individual. Copies (NOT
        originals) of all x-rays, CT scans, MRI films, photographs, and any other radiological, nuclear medicine, or radiation therapy
        films and of any corresponding reports. I expressly request that all covered entities under HIPAA identified above disclose full
        and complete protected medical information.

 A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will
 remain in effect until the earlier of: (i) the date of settlement or final disposition of
                           v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature of the
 undersigned below. The purpose of this authorization is for civil litigation. This authorization is for the release of
 records only and does not allow Faegre Drinker Biddle & Reath to engage in ex parte communications regarding the
 subject matter of this release and without the presence of my attorney.

                                                                    NOTICE

       •   The individual signing this authorization has the right to revoke this authorization at any time,
           provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP, except to the extent
           that the entity has already relied upon this Authorization to disclose protected health information
           (PHI).
       •   The individual signing this authorization understands that the covered entity to whom this
           authorization is directed may not condition treatment, payment, enrollment or eligibility benefits on
           whether or not the individual signs the authorization.
       •   The individual signing this authorization understands that protected health information (PHI)
           disclosed pursuant to this authorization may be subject to redisclosure by the recipients and that, in
           such case, the disclosed PHI no longer will be protected by federal privacy regulations.
       •   The individual signing this authorization understands information authorized for release may
           include records that may indicate the presence of a communicable disease.
       •   The individual signing this authorization understands that they shall be entitled to receive a
           copy of all documents requested via this authorization within a reasonable period of time after such
           records are received by Faegre Drinker Biddle & Reath LLP.




US.110158128.02
 Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 27 of 57 PageID #:
                                     94636
 I have read this Authorization and understand that it will permit the entity identified above to disclose PHI to
  Faegre Drinker Biddle & Reath LLP.


     Name of Individual                                        Signature of Individual or Individual Representative


     Former/Alias/Maiden Name of Individual                    Date

     Individual’s Date of Birth                                Name of Individual Representative

     Individual’s Social Security Number                       Description of Authority

     Individual’s Address




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 28 of 57 PageID #:
                                    94637



                                                                                                               Form Approved
    Social Security Administration                                                                             OMB No. 0960-0566
    Consent for Release of Information
    SSA will not honor this form unless all required fields have been completed (*signifies required field).

    TO: Social Security Administration



    *Name                                              * Date of Birth                           *Social Security Number


    I authorize the Social Security Administration to release information or records about me to:


     *NAME                                                    *ADDRESS

    Faegre Drinker Biddle & Reath LLP                           300 N. Meridian Street , Suite 2500,
                                                                Indianapolis, IN 46204

    *I want this information released because:                                civil litigation
    There may be a charge for releasing information.



    *Please release the following information selected from the list below:
    You must check at least one bo x. Also, SSA will not disclose records unless applicable date ranges are included.

         □Social Security Number
         □Current monthly Social Security benefit amount
         □ Current monthly S upplemental Security Income payment amount
         □ My benefit/payment amounts from               to
         □ My Medicare entitlement from                                  to
         □Medical records from my claims folder(s) from                                          to
              If you want SSA to release a minor's medical records, do not use this form but instead contact your local
              SA office.
         □ Complete medical records from my claims folder(s)
         □ Other record(s) from my file (e.g. applications, questionnaires, consultative
            examination reports, determinations, etc.)


   I am the individual to whom the requested information/record applies, or the parent or legal
   guardian of a minor, or the legal guardian of a legally incompetent adult. I declare under penalty of
   perjury in accordance with 28 C.F.R. § 16.41(d)(2004) that I have examined all the information
   on this form, and on any accompanying statements or forms, and i t i s true and correct to the best
   of my knowledge. I understand that anyone who knowingly or willfully seeking or obtaining
   access to records about another person under false pretenses is punishable by a fine of up to $5,000.
   I also understand that any applicable fees must be paid by me.
    *Signature:                                                                       *Date:


    Relationship (if not the individual):                                             Daytime Phone:

    Form SSA-3288 (07-2010) EF (07-2010)




  US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 29 of 57 PageID #:
                                    94638
  Instructions for Using this Form
  Complete this form only if you want us to give information or records about you, a minor, or a legally incompetent adult, to an individual
  or group (for example, a doctor or an insurance company). If you are the natural or adoptive parent or legal guardian, acting on behalf of a
  minor, you may complete this form to release only the minor's non-medical records. If you are requesting information for a purpose not
  directly related to the administration of any program under the Social Security Act, a fee may be charged.
  NOTE: Do not use this form to:
      Request us to release the medical records of a minor. Instead, contact your local office by calling 1-800-772-1213 (TTY-1-
      800-325-0778). or
      Request information about your earnings or employment history. Instead, complete form SSA-7050-F4 at any Social
      Security office or online at www.ssa.gov/online/ssa-7050.pdf.

  How to Complete this Form
  We will not honor this form unless all required fields are completed. An asterisk ( •) indicates a required field. Also, we will not honor
  blanket requests for "all records" or the "entire file." You must specify the information you are requesting and you must sign and date
  this form.
      Fill in your name, date of birth, and social security number or the name, date of birth, and social security number of the person to
      whom the information applies.
      Fill in the name and address of the individual (or organization) to whom you want us to release your information. Indicate
      the reason you are requesting us to disclose the information.
      Check the box(es) next to the type(s) of information you want us to release including the date ranges, if applicable.
      You, the parent or legal guardian acting on behalf of a minor, or the legal guardian of a legally incompetent adult, must sign and
      date this form and provide a daytime phone number where you can be reached.
       If you are not the person whose information is requested, state your relationship to that person. We may require proof of
       relationship.
                                                        PRIVACY ACT STATEMENT
 Section 205(a) of the Social Security Act, as amended, authorizes us to collect the information requested on this form. The information
 you provide will be used to respond to your request for SSA records information or process your request when we release your records to
 a third party. You do not have to provide the requested information. Your response is voluntary; however, we cannot honor your request
 to release information or records about you to another person or organization without your consent.


 We rarely use the information provided on this form for any purpose other than to respond to requests for SSA records information.
 However, in accordance with 5 U.S.C. § 552a(b) of the Privacy Act, we may disclose the information provided on this form in accordance
 with approved routine uses, which include but are not limited to the following: 1. To enable an agency or third party to assist Social
 Security in establishing rights to Social Security benefits and/or coverage; 2. To make determinations for eligibility in similar health and
 income maintenance programs at the Federal, State, and local level; 3. To comply with Federal laws requiring the disclosure of the
 information from our records; and, 4. To facilitate statistical research, audit, or investigative activities necessary to assure the integrity of
 SSA programs.


 We may also use the information you provide when we match records by computer. Computer matching programs compare our records
 with those of other Federal, State, or local government agencies. Information from these matching programs can be used to establish or
 verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of payments or delinquent debts under
 these programs.

 Additional information regarding this form, routine uses of information, and other Social Security programs are available from our
 Internet website at www.socialsecurity.gov or at your local Social Security office.
                                               PAPERWORK REDUCTION ACT STATEMENT

  This information collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork Reduction Act of
  1995. You do not need to answer these questions unless we display a valid Office of Management and Budget control number. We
  estimate that it will take about 3 minutes to read the instructions, gather the facts, and answer the questions. SEND OR BRING THE
  COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social Security office through SSA's
  website at www.socialsecurity.gov. Offices are also listed under U.S. Government agencies in your telephone directory or you may call
  1-800-772-1213 (TTY 1-800-325-0778). You may send comments on
  our time estimate above to: SSA, 6401 Security Blvd., Baltimore, MD 21235-6401. Send onlv comments relating to our time estimate to
  this address, not the completed form.

  Form SSA-3288 (07-2010) EF (07-2010) Destroy Prior Editions




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 30 of 57 PageID #:
                                    94639

                                                                                       Medicare
                                                      Beneficiary Services:1-800-MEDICARE (1-800-633-4227)
                                                                                   TTY! IDD:1-877-486-2048


 This form is used to advise Medicare of the person or persons you have chosen to have access to your
 personal health information.

 Where to Return Your Completed Authorization Forms:
 After you complete and sign the authorization form, return it to the address below:

 Medicare BCC, Written Authorization Dept.
 PO Box 1270
 Lawrence, KS 66044

 For New York Medicare Beneficiaries ONLY
 The New York State Public Health Law protects information that reasonably could identify someone as
 having HlV symptoms or infection, and information regarding a person's contacts. Because of New York's
 laws protecting the privacy of information related to alcohol and drug abuse, mental health treatment, and
 HIV, there are special instructions for how you, as a New York resident, should complete this form.

     • For question 2A, check the box for Limited Information, even if you want to authorize Medicare
       to release any and all of your personal health information.

     • Then proceed to question 2B.




                                     Medicare BCC, Written Authorization Dept..
                                                   PO Box 1270
                                               Lawrence, KS 66044




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 31 of 57 PageID #:
                                    94640




 Instructions for Completing Section 2B of the Authorization Form:
 Please select one of the following options.

     • Option 1 To include all information, in the space provided, write: "all information, including
       information about alcohol and drug abuse, mental health treatment, and HIV". Proceed with the rest
       ofthe form.

     • Option 2 To exclude the information listed above, write "Exclude information about alcohol and
       drug abuse, mental health treatment and HIV" in the space provided. You may also check any of the
       remaining boxes and include any additional limitations in the space provided. For example, you
       could write "payment information". Then proceed with the rest of the form.

 Ifyou have any questions or need additional assistance, please feel free to call us at 1-800-MEDICARE
 (1-800-633-4227). TTY users should call1-877-486-2048.

 Sincerely,



 1-800-MEDICARE
 Customer Service Representative


 Encl.




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 32 of 57 PageID #:
                                    94641


                     Information to Help You Fill Out the
    "1-800-MEDICARE Authorization to Disclose Personal Health Information" Form

 By law, Medicare must have your written permission (an "authorization") to use or give out
 your personal medical information for any purpose that isn't set out in the privacy notice
 contained in the Medicare & You handbook. You may take back ("revoke") your written
 permission at any time, except if Medicare has already acted based on your permission.

 If you want 1-800-MEDICARE to give your personal health information to someone other than
 you, you need to let Medicare know in writing.

 If you are requesting personal health information for a deceased beneficiary, please include a
 copy of the legal documentation which indicates your authority to make a request for
 information. (For example: Executor/Executrix papers, next of kin attested by court documents
 with a court stamp and a judge's signature, a Letter of Testamentary or Administration with a
 court stamp and judge's signature, or personal representative papers with a court stamp and
 judge's signature.) Also, please explain your relationship to the beneficiary.

 Please use this step by step instruction sheet when completing your "1-800-MEDICARE
 Authorization to Disclose Personal Health Information" Form. Be sure to complete all sections
 of the form to ensure timely processing.

 1. Print the name of the person with Medicare.

     Print the Medicare number exactly as it is shown on the red, white, and blue Medicare
     card, including any letters (for example, 123456789A).

     Print the birthday in month, day, and year (mm/dd/yyyy) of the person with Medicare.

 2. This section tells Medicare what personal health information to give out. Please check a
    box in 2a to indicate how much information Medicare can disclose. If you only want
    Medicare to give out limited information (for example, Medicare eligibility), also check
    the box(es) in 2b that apply to the type of information you want Medicare to give out.

 3. This section tells Medicare when to start and/or when to stop giving out your personal
    health information. Check the box that applies and fill in dates, if necessary.

 4. Medicare will give your personal health information to the person(s) or organization(s) you
    fill in here. You may fill in more than one person or organization. If you designate an
    organization, you must also identify one or more individuals in that organization to whom
    Medicare may disclose your personal health information.




US.110158128.02
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 33 of 57 PageID #:
                                    94642

 5. The person with Medicare or personal representative must sign their name, fill in the date,
    and provide the phone number and address of the person with Medicare.

    If you are a personal representative of the person with Medicare, check the box, provide
    your address and phone number, and attach a copy of the paperwork that shows you can
    act for that person (for example, Power of Attorney).

 6. Send your completed, signed authorization to Medicare at the address shown here on your
    authorization form.

 7. If you change your mind and don't want Medicare to give out your personal health
    information, write to the address shown under number six on the authorization form and
    tell Medicare. Your letter will revoke your authorization and Medicare will no longer
    give out your personal health information (except for the personal health information
    Medicare has already given out based on your permission).

You should make a copy of your signed authorization for your records before mailing it to
Medicare.
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 34 of 57 PageID #:
                                    94643

          1-800-MEDICARE Authorization to Disclose Personal Health Information
  Use this form if you want 1-800-MEDICARE to give your personal health information to
  someone other than you.


 1. Print Name                                      Medicare Number                         Date of Birth
    (First and last name of the person with Medicare) (Exactly as shown on the Medicare Card) (mm/dd/yyyy)


 2. Medicare will only disclose the personal health information you want disclosed.

   2A: Check only one box below to tell Medicare the specific personal health
   information you want disclosed:

         Limited Information (go to question 2b)

         Any Information (go to question 3)


   2B: Complete only if you selected "limited information". Check all that apply:

         Information about your Medicare eligibility

         Information about your Medicare claims

         Information about plan enrollment (e.g. drug or MA Plan)

         Information about premium payments

         Other s pecific information (please write below; for example, payment information)




 3. Check only one box below indicating how long Medicare can use this authorization
    to disclose your personal health information (subject to applicable law-for example,
    your State may limit how long Medicare may give out your personal health information):

     Disclose my personal health information indefinitely

     Disclose my personal health information for a specified period only
       beginning: (mm/dd/yyyy)                            and ending: (mm/dd/yyyy)
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 35 of 57 PageID #:
                                    94644
4. Fill in the name and address of the person(s) or organization(s) to whom you want
   Medicare to disclose your personal health information. Please provide the specific
   name of the person(s) for any organization you list below:
      1. Name:       Faegre Drinker Biddle & Reath LLP

        Address:     300 N. Meridian Street, Suite 2500
                     Indianapolis, IN 46204

      2. Name:
        Address:


      3. Name:

        Address:


 5.
       I authorize 1-800-MEDICARE to disclose my personal health information listed
       above to the person(s) or organization(s) I have named on this form. I
       understand that my personal health information may be re-disclosed by the
       person(s) or organization(s) and may no longer be protected by law.


         Signature                            Telephone Number               Date (mm/dd/yyyy)

        Print the address of the person with Medicare (Street Address, City, State, and ZIP)




        D Check here if you are signing as a personal representative and complete below.
           Please attach the appropriate documentation (for example, Power of Attorney).
           This only applies if someone other than the person with Medicare signed above.
        Print the Personal Representative's Address (Street Address, City, State, and ZIP)




         Telephone Number of Personal Representative:
                                                           -------------------------
         Personal Representative's Relationship to the Beneficiary:
                                                                        -----------------
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 36 of 57 PageID #:
                                         94645
 6. Send the completed, signed authorization to:
                            Medicare BCC, Written Authorization Dept.
                                         PO Box 1270
                                      Lawrence, KS 66044

7. Note:

    You have the right to take back ("revoke") your authorization at any time, in writing,
    except to the extent that Medicare has already acted based on your permission. If you
    would like to revoke your authorization, send a written request to the address shown
    above.

    Your authorization or refusal to authorize disclosure of your personal health
    information will have no effect on your enrollment, eligibility for benefits, or the
    amount Medicare pays for the health services you receive.




 According to the Paperwork Reduction Act of 1995, no persons are required to respond to a
 collection of information unless it displays a valid OMB control number. The valid OMB
 control number for this information collection is 0938-0930. The time required to complete
 this information collection is estimated to average 15 minutes per response, including the
 time to review instructions, search existing data resources, gather the data needed, and
 complete and review the information collection. If you have comments concerning the
 accuracy of the time estimate(s) or suggestions for improving this form, please write to:
 CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance Officer, Mail Stop C4-26-05,
 Baltimore, Maryland 21244-1850.




   1124493-1 (10909-0412)
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 37 of 57 PageID #:
                                    94646




                                                 EXHIBIT 2
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 38 of 57 PageID #:
                                    94647



                                      Categorization Form



  A.    Plaintiff’s Name:                     __________________________________________

  B.    Plaintiff’s Case Number:              _________________________________________

  C.    Plaintiff’s Counsel (Lead Firm Name): ________________________________________

  D.    Categorization (check each that applies and briefly describe):

        1. Successful First Removal Without Complication or Physical Injury Cases: “Cases
           where Plaintiffs’ profile sheet and further follow-up shows that the Gunter Tulip or
           Celect IVC filter was successfully removed on the first, routine, percutaneous retrieval
           attempt and no physical symptom or filter complication was alleged during the time
           the filter was in place or in connection with the retrieval process.”

           Check here for Category 1:____

        2. Cases Alleging Mental Distress and Embedment: “Cases where only non-physical
           injuries, such as worry, stress, or fear of future injury, have been alleged.”

           Check here for Category 2:____

           Briefly describe claimed complication/outcome/injury:_________________________

        3. Stenosis of the IVC and Anticoagulation Cases: “(a) Cases where the plaintiff has
           alleged scarring or stenosis of the IVC caused by the Cook filter; and (b) Cases where
           the plaintiff has alleged a need for [anti]coagulation on a permanent or long term basis
           because of an unretrieved or irretrievable filter.”

           Check here for Category 3:____

           Briefly describe claimed complication/outcome/injury:_________________________

        4. Embedded and High Risk Cases: “Cases where the Plaintiff has been advised that the
           Cook IVC filter is embedded, cannot be retrieved, or that the risk of retrieval outweighs
           the benefits of retrieval.”

           Check here for Category 4:____

           Briefly describe claimed complication/outcome/injury:_________________________




                                                 2
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 39 of 57 PageID #:
                                    94648



             5. Failed Retrieval and Complicated Retrieval Cases1: “(a) Cases where the plaintiff has
                undergone one or more failed retrieval procedures; and (b) Cases where Plaintiff’s
                Filter was retrieved but required the use of a non-routine, complicated retrieval
                method.”

                 Check here for Category 5:____

                 Briefly describe claimed complication/outcome/injury:_________________________

             6. Non-Symptomatic Injury Cases: “Cases where the Plaintiff alleges non-symptomatic
                filter movement, migration, penetration, perforation, thrombosis, occlusion, or the
                presence of a clot in the filter that has not produced physical symptoms or
                complications.”

                 Check here for Category 6:____

                 Briefly describe claimed complication/outcome/injury:_________________________

             7. Symptomatic Injury Cases: “Cases where the Plaintiff alleges medical symptoms,
                conditions, or complications caused by one or more of the following conditions”

                 Check here for Category 7:____. Circle all sub-categories that apply below:

                 (a) IVC thrombotic occlusion – consisting of an occluding thrombus in the IVC after
                     filter insertion (documented by imaging or autopsy);

                 Briefly describe claim of symptomatic injury:
                 ____________________________________________________________________

                 (b) filter embolization – consisting of post-deployment movement of the filter to a
                     distant anatomic site;

                 Briefly describe claim of symptomatic injury:
                 ____________________________________________________________________

                 (c) filter fracture – consisting of any loss of a filter’s structural integrity documented
                     by imaging or autopsy;

                 Briefly describe claim of symptomatic injury:
                 _____________________________________________________________________

                 (d) filter migration – consisting of a change in filter position of more than 2 cm (when
                     compared to its deployed position) and as documented by imaging; Briefly describe
                     claim of symptomatic injury:


  1
      Plaintiffs that have undergone open removal surgery shall categorize as Category No. 7.

                                                             3
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 40 of 57 PageID #:
                                    94649



           Briefly describe claim of symptomatic injury:________________________________

        (e) penetration or perforation – consisting of a filter strut or anchor extending 3 or more
            mm outside the wall of the IVC as demonstrated on imaging;

        Briefly describe claim of symptomatic injury:___________________________________

        (f) recurrent pulmonary embolism (PE) – consisting of PE that occurs after filter
            placement is documented by pulmonary arteriography, cross sectional imaging, lung
            scan, or autopsy;

               Briefly describe claim of symptomatic injury:_____________________________

        (g) DVT or other blood clot caused by filter;

               Briefly describe claim of symptomatic injury:_____________________________

        (h) infection;

               Briefly describe claim of symptomatic injury:_____________________________

        (i) bleeding;

               Briefly describe claim of symptomatic injury:_____________________________

        (j) death; and

               Briefly describe claim of symptomatic injury:_____________________________

        (k) open-removal and/or open heart surgery- any case where a plaintiff has had an open
            surgical procedure, including open heart surgery, to remove his or her IVC filter.

               Briefly describe claim of symptomatic injury:_____________________________

  E.    Certification: The undersigned counsel affirms that the categorization is based on a review

        of the available medical records including imaging records and reports. The submission of

        the specific medical record(s) attached, and submission of this form, are counsel’s

        certification that the outcome, complication, or injury represented in Section D is the proper

        categorization for Plaintiff’s case to the best of counsel’s knowledge and belief.




                                                  4
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 41 of 57 PageID #:
                                    94650



  Plaintiff’s Counsel Name:          __________________________________

  Plaintiff’s Counsel’s Firm:        __________________________________

  Plaintiff’s Counsel’s Signature:   __________________________________




                                             5
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 42 of 57 PageID #:
                                    94651




                                                 EXHIBIT 3
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 43 of 57 PageID #:
                                    94652
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 44 of 57 PageID #:
                                    94653
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 45 of 57 PageID #:
                                    94654
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 46 of 57 PageID #:
                                    94655
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 47 of 57 PageID #:
                                    94656




                                                 EXHIBIT 4
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 48 of 57 PageID #:
                                    94657
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 49 of 57 PageID #:
                                    94658
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 50 of 57 PageID #:
                                    94659
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 51 of 57 PageID #:
                                    94660
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 52 of 57 PageID #:
                                    94661
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 53 of 57 PageID #:
                                    94662
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 54 of 57 PageID #:
                                    94663
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 55 of 57 PageID #:
                                    94664
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 56 of 57 PageID #:
                                    94665
Case 1:14-ml-02570-RLY-TAB Document 13011-2 Filed 03/05/20 Page 57 of 57 PageID #:
                                    94666
